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 9                            IN THE UNITED STATES DISTRICT COURT

10                         FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12

13
     UNITED STATES OF AMERICA,                             2:19-cr-00107-KJM
14
                                            Plaintiff, OPPOSITION TO MOTION
15                                                     REGARDING INTERFERENCE WITH
                    v.                                 LEGAL MAIL
16
                                                           Date:         September 20, 2023
17   BRANT DANIEL,                                         Time:         9:00 a.m.
                                                           Judge:        The Honorable Kimberly J.
18                                        Defendant.                     Mueller

19

20                                          INTRODUCTION
21          In his Motion Regarding Interference with Legal Mail, filed on August 15, 2023,

22   Defendant Brant Daniel alleges Third Party, the California Department of Corrections (CDCR)

23   and Rehabilitation, has improperly interfered with his ability to receive legal mail. (ECF No.

24   1579.) According to Daniel, CDCR has not delivered any of his mail, legal or otherwise, for the

25   last five months. Based on this alleged interference with his legal mail, Daniel seeks an order

26   compelling CDCR to deliver his legal mail to him unopened. (ECF No. 824.) Daniel further

27   requests the Court issue sanctions against CDCR for failing to deliver his legal mail to him.

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 1          Daniel’s claim is entirely without merit. Mail logs maintained by California State Prison,

 2   Sacramento (CSP-Sacramento), where Daniel is housed, show that all legal mail received by the

 3   prison was delivered to Daniel in accordance with CDCR’s mail policy. The Motion and

 4   Daniel’s request for sanctions should be denied.

 5                         FACTUAL AND PROCEDURAL BACKGROUND
 6          Daniel is a member of the Aryan Brotherhood prison gang who, along with several other

 7   defendants, is charged with conspiracy to participate in a racketeering enterprise within the

 8   California prison system. (ECF No. 25.) The United States alleges that while Daniel was housed

 9   in CDCR custody Daniel murdered fellow inmate Zachary Scott as part of the enterprise. (ECF

10   No. 1, Compl. at 130-33.) Daniel is housed at California State Prison, Sacramento (CSP-

11   Sacramento) pending trial in this federal matter under a writ of habeas corpus ad prosequendum

12   and an agreement with the United States Marshals Service. (ECF No. 55; ECF No. 555-1.)

13          On September 17, 2019, Daniel filed a motion alleging the conditions of his confinement

14   violated his right to effective assistance of counsel and requesting transfer to another pre-trial

15   detention facility. (ECF No. 194.) On February 10, 2020, Daniel renewed his request, claiming

16   that restrictions on confidential attorney telephone calls and in-person visits improperly impinged

17   on his right to consult with counsel. (ECF No. 371.) In response, and without the need for Court

18   intervention, CSP-Sacramento made various arrangements to accommodate Daniel’s requests,

19   including making arrangements for Daniel to call his attorneys once a week (ECF No. 418),

20   increasing the number of days Daniel’s could have in-person attorney visits (ECF. No. 358), and

21   allowing his attorneys to bring a laptop to the in-person visits (ECF No. 709-1).

22          On July 8, 2020, the Court issued an order addressing the claims raised by Daniel and

23   several other defendants concerning the conditions of their confinement. In its Order, the Court

24   imposed the following four requirements:

25          1. In-person visits must be conducted in a way that cannot be heard outside the visiting
               booth.
26

27          2. Defendant’s calls to attorneys must not be recorded.

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 1          3. Defendants must be allowed to make calls to attorneys in a way that ensures third
               parties don’t overhear.
 2

 3          4. Legal mail may be opened and inspected in front of the defendants, but must not be
               read for content, as required under Nordstrom, 762 F.3d at 910. If legal papers must be
 4             inspected for contraband, the inspection must happen in the presence of the defendant
               to allow verification that the papers are not being read for content.
 5
     (ECF No. 510, Order at 15-16.)
 6
            In January 2021, Daniel filed a motion for transfer to a new pretrial detention center after
 7
     he was moved from the Administrative Segregation Unit (ASU) into the Psychiatric Services Unit
 8
     (PSU). (Docket No. 703.) Daniel alleged the move, and a lack of in-person visits resulting from
 9
     COVID-19 restrictions, infringed on his Sixth Amendment right to consult with counsel. (Id.)
10
     Daniel withdrew that motion when he was transferred out of the PSU. (ECF No. 770.) On May
11
     17, 2021, Daniel filed an Amended Motion for Transfer out of CDCR Custody. (ECF No. 781.)
12
     Among other things, Daniel alleged that on four occasions his legal mail was opened before it
13
     was delivered to him and that weekly in-person visits with his attorney were insufficient. (Id.) In
14
     denying Daniel’s motion, the Court found Daniel provided no evidence demonstrating that
15
     CDCR’s accidental opening of his legal mail unconstitutionally infringed on his right to
16
     confidential consultation with counsel. (ECF No. 894 at 9.) The Court further found that
17
     CDCR’s restrictions on Daniel’s in-person visits with his attorneys were based on legitimate
18
     safety and security concerns and did not violate Daniel’s constitutional rights. (Id. at 8-9.)
19
            Currently, legal visits at CSP-Sacramento are scheduled on Wednesdays, Thursdays, and
20
     Fridays. (ECF No. 709-1, Largent Decl. ¶ 6; ECF No. 1579, Balazs Decl. at ¶ 3.) In addition,
21
     CSP-Sacramento has accommodated Daniel’s need to consult with his attorneys by allowing him
22
     a confidential telephone call once per week. (ECF No. 418.) Daniel also has access to legal mail
23
     from his attorneys. All legal mail received in the mailroom is logged on a Legal Mail Card
24
     (CDCR Form 119). Ex. 1, Decl. of T. Feryance ¶ 4. The mail is then delivered to the appropriate
25
     housing unit, where it is opened and inspected for contraband in front of the inmate, but is not
26
     read. Id.; see also Cal. Code Regs. tit. 15, § 3143(a). When legal mail is delivered to an inmate,
27
     the inmate must sign a logbook acknowledging receipt of the mail. Ex. 1, Decl. of T. Feryance ¶
28
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 1   4; Cal. Code Regs. tit. 15, § 3143(b). According to CDCR records, Daniel has received four

 2   confidential letters from his attorneys in this case since March 2023. (Ex. 2, Legal Mail Card.)

 3   The letters were received by CSP-Sacramento on March 1, 2023, April 26, 2023, June 30, 2023,

 4   and July 14, 2023. (Ex. 2 at 16-17.) Daniel signed for each of the four confidential letters,

 5   acknowledging he received them. (Ex. 3, Legal Mail Log.)

 6                                               ARGUMENT
 7   I.    DANIEL FAILS TO DEMONSTRATE THE CONDITIONS OF HIS CONFINEMENT HAVE
           IMPROPERLY INFRINGED ON HIS CONSTITUTIONAL RIGHT TO CONSULT WITH
 8         COUNSEL
 9         Daniel’s Motion should be denied because Daniel fails to demonstrate that the conditions of

10   his confinement have unconstitutionally impinged on his ability to consult with his attorneys.

11         Normally, federal pre-trial detainees must raise challenges to the conditions of their

12   confinement in a separate civil action. See United States v. Luong, No. CR 99-433 WBS-GGH,

13   2009 WL 2852111, at *1-2 (E.D. Cal. Sept. 2, 2009) (“[T]he proper procedure to redress a

14   defendant's grievances regarding treatment within a jail or prison is to file a civil suit against the

15   relevant parties pursuant to 42 U.S.C. § 1983, rather than a motion in his criminal case.”). This

16   rule prevents defendants from bypassing the administrative exhaustion of the Prison Litigation

17   Reform Act. United States v. Loera, No. CR 13-1876 JB, 2017 WL 3098257, at *27-28 (D.N.M.

18   June 22, 2017). The only exception is when the condition of confinement at issue interferes with

19   the defendant’s ability to consult with counsel or exercise other trial rights. Id. Where this

20   exception applies, courts must determine whether the restriction is “imposed for the purpose of

21   punishment” or is “an incident of some other legitimate governmental purpose,” Bell v. Wolfish,

22   441 U.S. 520 (1979), and whether the restriction is “reasonably related to legitimate penological

23   interests, Turner v. Safley, 482 U.S. 78, 89 (1987). In making this determination, courts should

24   accord prison administrators “wide-ranging deference in the adoption and execution of policies

25   and practices that in their judgment are needed to preserve internal order and discipline and to

26   maintain institutional security.” Bell, 441 U.S. at 547 (citations omitted).

27         Daniel fails to demonstrate that the conditions of his confinement at CSP-Sacramento have

28   unconstitutionally impinged on his ability to consult with his attorneys. The gravamen of
                                                      4
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 1   Daniel’s claim is that he “has not received any legal mail (or family mail) in the last five months.”

 2   (ECF No. 1579 at 2.) As the Court has repeatedly recognized, it does not have jurisdiction to

 3   address conditions of confinement that do not affect Daniel’s ability to consult with counsel.

 4   (ECF No. 894 at 6-7.) Thus, to the extent that he could state such a claim, Daniel must bring a

 5   separate civil action regarding the alleged non-receipt of any family mail. The only claim

 6   properly before the Court is that prison officials’ alleged failure to deliver legal mail from

 7   Daniel’s attorneys in this case improperly infringed on Daniel’s ability to consult with counsel.

 8         Contrary to Daniel’s claim, prison officials have delivered all legal mail sent to him since

 9   March 1, 2023 in accordance with CDCR’s mail policy. In his declaration, Daniel’s attorney,

10   John Balazs, asserts that since March 2023 he has sent “Daniel legal mail a few times.” (ECF No.

11   1579, Decl. of Balazs ¶ 2.) Mr. Balazs’ declaration further states that, “A couple of times, I sent

12   [Daniel] innocuous materials through legal mail as a test to see if he would receive them.” (Id.)

13   The declaration, however, does not provide any details as to the exact number of times legal mail

14   was sent to Daniel or provide dates, or even approximate dates, on which the legal mail was sent.

15   Records maintained by CSP-Sacramento’s mailroom show that the prison has received four

16   confidential letters from Mr. Balazs since March 1, 2023. (Ex. 2 at 16-17.) The records also

17   show that Daniel has received legal mail from several other attorneys and entities during this

18   same time. (Id.) These confidential letters were all delivered to Daniel and opened in front of

19   him in accordance with CDCR’s mail policy. Cal. Code Regs. tit. 15, § 3143(a). Indeed, prison

20   records indicate that Daniel signed for each of the four letters when they were delivered to him.

21   (Ex. 3.) Daniel’s Motion should be denied.

22   II.   DANIEL’S REQUEST FOR SANCTIONS AGAINST CDCR SHOULD BE DENIED
23         Daniel’s request that the Court issue sanctions against CDCR for failing to deliver his legal

24   mail lacks any legal or factual foundation. Daniel fails to explain the legal basis on which he seek

25   sanctions, cites to no authority in support of his request, and fails to specify what sanctions he

26   seeks. Nor does Daniel cite to any evidence that CDCR has violated any of the Court’s

27   requirements concerning the conditions of his confinement. Moreover, the factual basis of

28   Daniel’s Motion is entirely without merit as records maintained by CSP-Sacramento demonstrate
                                                      5
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 1   all legal mail received by the prison addressed to Daniel has been delivered to him in accordance

 2   with CDCR’s mail policy. (Exs. 2, 3.) Daniel’s unsupported request for sanctions should be

 3   denied.

 4                                            CONCLUSION
 5         The Court should deny Daniel’s Motion.

 6   Dated: September 6, 2023                              Respectfully submitted,
 7                                                         ROB BONTA
                                                           Attorney General of California
 8                                                         JULIE A. MALONE
                                                           Supervising Deputy Attorney General
 9

10
                                                           /s/: Heather M. Heckler
11                                                         HEATHER M. HECKLER
                                                           Deputy Attorney General
12                                                         Attorneys for Third Party
                                                           California Department of Corrections and
13                                                         Rehabilitation
14

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                                     Opp’n. to Mot. Regarding Interference With Legal Mail (2:19-cr-00107-KJM)
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                 Exhibit 1
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                  Exhibit 2
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                                                             MAIL CARD (CDCR FORM 119)
                                                                  CSP-SACRAMENTO
        NAME:          DANIEL                                                                                                 Printed 31-Aug-2023
        CDCR #:        J85968


DATE              RECEIVED FROM                                             SENT TO                                                                 COMMENTS
09/15/2014   PELICAN BAY STATE PRISON HEALTH CARE 5905 LAKE EARL DR CRESCENT CITY, CA
09/18/2014   HEALTH CARE SERVICES THIRD LEVEL APPEALS P.O. BOX 588500 ELK GROVE, CA (PH
09/19/2014   PELICAN BAY HEALTH CARE APPEALS 5905 LAKE EARL DR CRESCENT CITY, CA (PH)
09/26/2014   PELICAN BAY HEALTH CARE APPEALS OFFICE P.O. BOX 7000 CRESCENT CITY, CA (PH)
07/03/2017   CAROL STRICKMAN 1540 MARKET ST STE 490 SF CA (KC)
07/15/2019   ATTY ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES, CA (PH)
07/17/2019                                                       ATTY AT LAW TIMOTHY WARRINER 455 CAPITAL MALL STE 802 SAC CA
07/24/2019   JOHN BALAZS 916 2ND ST. 2ND FL. SAC CA
07/25/2019                                                       ATTY AT LAW TIMOTYHY E WARRINER 455 CAPITOL MALL STE 802 SAC CA
07/30/2019                                                       ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SAC CA
08/02/2019   PRISON LAW OFFICE GENERAL DELIVERY SAN QUENITIN CA (KC)
08/05/2019   CDCR CORCORAN P.O. BOX 8800 CORCORAN, CA (PH)
08/21/2019   JOHN BALAZS 916 2ND ST. 2ND FL SAC CA
08/22/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
08/26/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
08/26/2019   JOHN BALAZS 916 2ND ST. 2ND FL. SAC CA
08/26/2019   JOHN BALAZS 916 2NDE ST. 2ND FL. SAC CA
08/29/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
08/30/2019   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SAC CA (KC)
09/03/2019                                                         JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SAC CA
09/09/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
09/11/2019                                                         TIMOTHY WARRINER 455 CAPITAL MALL STE#802 SAC CA
09/16/2019   JOHN BALAZS 916 2ND ST. 2ND FL SAC CA
09/19/2019   JOHN BALAZS 916 2ND ST. 2ND FL SAC CA
09/19/2019                                                         ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
09/23/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
09/27/2019   JOHN BALAZS 916 2ND ST. 2ND FLR SAC CA
10/01/2019                                                         JOHN BALAZS 916 2ND ST. 2ND FL SAC CA
10/07/2019                                                         ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
10/07/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
10/08/2019   JOHN BALAZS 916 2ND ST. 2ND FLR. SAC CA
10/10/2019   JOHN BALAZS 916 2ND ST. 2ND FL SAC CA
10/10/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
10/11/2019   JOHN BALAZS 916 2ND ST. SAC CA
10/15/2019   ATTY JOHN BALAZS 916 2ND ST 2ND FL SACTO, CA (PH)
10/18/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)


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        CDCR #:        J85968


DATE              RECEIVED FROM                                             SENT TO                                                                  COMMENTS
10/25/2019                                                         JOHN BALAZS 916 2ND ST. 2ND FL. SACTO CA
10/25/2019   ATTY JOHN BALAZS 916 2ND TREET 2ND FLOOR SACTO, CA (PH)
10/29/2019                                                         TIMOTHY WARRINER 455 CAPTIAL MALL ST.802 SACTO CA
11/01/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
11/01/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
11/05/2019                                                         ATTY TIMOTHY WARRINER 455 CAPITAL MALL SUITE 802 SACTO, CA (PH)
11/15/2019   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SAC CA (KC)
11/25/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
11/26/2019                                                         JOHN BALAZS ATTY AT LAW 916 2ND ST SND FL SAC CA
11/27/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
12/02/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
12/06/2019   JOHN BALAZS 916 2ND ST. 2ND FLR. SAC CA
12/09/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
12/09/2019                                                         JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SAC CA
12/09/2019   JOHN BALAZS ATTY AT LAW 916 2ND ST SND FL SAC CA (KC)
12/11/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
12/13/2019                                                         ATTY AT LAW JOHN BALAZS 916 2ND ST SND FL SAC CA
12/13/2019   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SAC CA (KC)
12/13/2019   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SAC CA (KC)
12/13/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
12/16/2019   JOHN BALAZS 916 2ND ST. 2ND FL. SAC CA
12/18/2019   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
12/23/2019   JOHN BALAZS 916 2ND ST. 2ND FL. SAC CA
01/09/2020                                                         JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA
01/10/2020   JOHN BALAZS 916 2ND ST. 2ND FL SAC CA
01/13/2020                                                         JOHN BALAZS ATTY AT LAW 916 2ND ST SND FL SACRAMENTO CA
01/21/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST SND FL SACRAMENTO CA (KC)
01/29/2020                                                         ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
02/03/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA (KC)
02/03/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENOT CA (KC)
02/12/2020                                                         TIMOTHY E WARRINER ATTY AT LAW 331 J ST STE 200 SACRAMENTO CA
02/13/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
02/13/2020                                                         JOHN BALAZS ATTY ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
02/28/2020                                                         CHIEF INMATE APPEALS BRANCH PO BOX 942883 SACRAMENTO CA
03/05/2020   JOHN BALAZS 916 2ND DT 2ND FL SACRAMENTO CA (KC)
03/10/2020                                                         TIMOTHY E WARRINER ATTY AT LAW 455 CAPITAL MALL STE 802 SACRAMENTO CA
03/11/2020   PRISON LAW OFFICE SAN QUENTIN, CA (PH)
03/13/2020   ATTY ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES, CA (PH)
03/17/2020                                                  PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA


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        NAME:         DANIEL                                                                                             Printed 31-Aug-2023
        CDCR #:       J85968


DATE              RECEIVED FROM                                          SENT TO                                                               COMMENTS
03/17/2020                                                       HEALTH CARE CORRESPONDANCE 7 APPEALS BRANCH PO BOX 588500 ELK GROVE CA
03/18/2020                                                       PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA
03/18/2020                                                       ATTY AT LAW ANNE M. CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA
03/18/2020   JOHN BALAZS ATTY AT LAW 916 S2ND ST SND FL SACRAMENTO CA (KC)
03/23/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST SACRAMENTO CA
03/24/2020                                                       HEALTH CARE CORRESPONDANCE & APPEALS PO BOX 588500 ELK GROVE CA
03/25/2020   HEALTH CARE APPEALS P.O. BOX 588500 ELK GROVE, CA (PH)
03/30/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA (KC)                                                                      LEGAL MAIL
04/01/2020   JOHN BALAZS 916 2ND ST. 2ND FL SAC CA                                                                                             LEGAL MAIL
04/13/2020   ATTY ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES, CA (PH)
04/13/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA (KC)
04/13/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA
04/13/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
04/14/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA (KC)
04/14/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA (KC)
04/14/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA (KC)
04/15/2020                                                        RHONDA SWENSON PO BOX 881 CERES CA
04/16/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
04/20/2020                                                        RHONDA SWENSON MA CRIMINAL DEFENSE INVESTIGATOR PO BOX 881 CERES CA
04/20/2020   ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA (PH)
04/20/2020   PRISON LAW OFFICE SAN QUENTIN, CA (PH)
04/20/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
04/21/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
04/23/2020                                                        HEALTH CARE CORRESPONDANCE & APPEALS BRANCH PO BOX 588500 ELK GROVE CA
04/27/2020   RONDA SWENSON MITIGATION SPEC POB 881 CERES CA 95307
04/27/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
04/28/2020                                                        RONDA SWENSON MA LEGAL DOCS PO BOX 881 CERES CA
04/30/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA (KC)
05/04/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST SACRAMENTO CA (KC)
05/04/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
05/06/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
05/07/2020                                                        ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA
05/07/2020   RONDA SWENSON M.A - LEGAL DOCS P.O. BOX 881 CERES, CA (PH)
05/07/2020                                                        CHIEF INMATE APPEALS BRANCH PO BOX 942883 SACRAMENTO CA
05/08/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST 2ND FL SACRAMENTO CA (KC)
05/11/2020   RONDA SWENSON M.A - LEGAL DOCS P.O. BOX 881 CERES, CA (PH)
05/11/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
05/11/2020                                                      CA PRISON FOCUS 4408 MARKET ST STE A OAKLAND CA
05/11/2020                                                      RHONA SWESON MA CRIMINAL DEFENSE PO BOX 881 CERES CA


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        NAME:          DANIEL                                                                                               Printed 31-Aug-2023
        CDCR #:        J85968


DATE              RECEIVED FROM                                            SENT TO                                                                 COMMENTS
05/13/2020   RONDA SWENSON M.A. - LEGAL DOCS P.O. BOX 881 CERES, CA (PH)
05/13/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
05/14/2020                                                        RHONDA SWENSON CRIMINAL DEFENSE MA PO BOX 881 CERES CA
05/15/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
05/18/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
05/18/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
05/22/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
05/22/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
05/28/2020                                                        TIM WARRINER ATTY AT LAW 455 CAPITAL MALL STE 802 SACRAMENTO CA
05/28/2020                                                        RHONDA SWENSON CRIMINAL DEFENSE PO BOX 881 CERES CA
05/29/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FLOOR SACTO, CA (PH)
05/29/2020   ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA (PH)
06/01/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
06/01/2020                                                        TIM WARRINER ATTY AT LAW 455 CAPITAL MALL STE 802 SACRAMENTO CA
06/03/2020   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
06/03/2020   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
06/03/2020   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
06/03/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND SR STE F SACRAMENTO CA
06/04/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
06/05/2020                                                       RHONDA SWENSON MA CRIMINAL DEFENSE PO BOX 881 CERES CA
06/05/2020                                                       PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA
06/05/2020                                                       JIM WARRINER ATTY AT LAW 455 CAPITAL MALL STE 802 SACRAMENTO CA
06/08/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
06/09/2020   CHIEF OFFICE OF APPEALS DEPT OF CORR AND REHAB PO BOX 942883 SACRAMENTO CA
06/10/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
06/10/2020                                                       TIM WARRINER ATTY AT LAW 455 CAPITO MALL STE 802 SACRAMENTO CA
06/11/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
06/11/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
06/11/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
06/15/2020   MICHAEL BIEN POB 390 SAN FRAN CA
06/15/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
06/15/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
06/15/2020   ATTY JOHN BALAZS 916 2ND STREET 2ND FL SACTO, CA (PH)
06/17/2020                                                       ROSEN BIEN GALVAN & GRUNFELD LLP PO BOX 390 SAN FRANCISCO CA
06/17/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
06/18/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
06/18/2020                                                       PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA
06/22/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
06/24/2020   JOHN BALAZS 916 2ND ST. #F SAC CA


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        NAME:         DANIEL                                                                                              Printed 31-Aug-2023
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DATE              RECEIVED FROM                                           SENT TO                                                               COMMENTS
06/25/2020                                                       CALIF PRISON FOCUS 4408 MARKET STREET SUITE A OAKLAND, CA (PH)
06/26/2020   PRISON LAW OFFICE SAN QUENTIN CA DONALD SPECTOR                                                                                    MAIL CAME B
06/29/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
06/29/2020                                                       RHONDA SWENSON MITIGATION SPECIALIST INVESTIGATOR PO BOX 881 CERES CA
06/29/2020   RONDA SWENSON M.A. - LEGAL DOCS P.O. BOX 881 CERES, CA (PH)
06/30/2020   PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA (KC)                                                                             RE-SENT FR
07/01/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SAC CA
07/01/2020                                                       PRISON LAW OFFICE PLO SAN QUENTIN CA
07/02/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
07/02/2020   MICHAEL BIEN POB 390 SAN FRAN CA
07/02/2020                                                       PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA
07/02/2020                                                       RHONDA SWESON PO BOX 881 CERES CA
07/03/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
07/08/2020                                                       ATTY AT LAW ANNE CAPPELLA 201 REDWOODSHORES PARKWAY REDWOODSHORES CA
07/10/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
07/13/2020                                                       CA PRISON FOCUS 4408 MARKET ST STE A OAKLAND CA
07/15/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
07/15/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
07/16/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
07/17/2020                                                       RHONDA SWENSON PO BOX 881 CERES CA
07/17/2020   TIM WARRINER 455 CAPITAL MALL #802 SAC CA
07/17/2020   JOHN BALAZS 916 2ND ST. #F SAC CA
07/20/2020   ROSEN BIEN GALVAN & GRUNFELD LLP PO BOX 390 SAN FRANCISCO CA (KC)
07/22/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
07/23/2020                                                       RHONDA SWENSON PO BOX 881 CERES CA
07/27/2020   ANNE M CAPPELLA ATTY AT LAW 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA
07/27/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
07/28/2020   PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA (KC)
07/30/2020                                                       WARDEN JEFF LYNCH CSP-SAC
07/30/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)                                                                             CAME BACK
07/30/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
08/03/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)                                                                        RE-SENT FR
08/03/2020   TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
08/05/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
08/06/2020                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/11/2020                                                       HEALTH CARE CORRESPONDENCE & APPEALS BRANCH PO BOX 588500 ELK GROVE CA
08/12/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
08/12/2020   RONDA SWENSON POB 881 CERES CA 95307
08/17/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)


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        NAME:         DANIEL                                                                                               Printed 31-Aug-2023
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DATE              RECEIVED FROM                                           SENT TO                                                                 COMMENTS
08/17/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/20/2020                                                        TIM WARRINER ATTY AT LAW 455 CAPITAL MALL STE 802 SACRAMENTO CA
08/24/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/25/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
08/26/2020   JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
08/28/2020                                                        TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA
08/31/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
09/02/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST TE F SACRAMENTO CA
09/02/2020   ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA (PH)
09/04/2020                                                        TIM WARRINER ATTY AT LAW 455 CAPITAL MALL STE 802 SACRAMENTO CA
09/21/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
09/21/2020                                                        CA PRISON FOCUS 4408 MARKET ST STE A OAKLAND CA
09/25/2020                                                        RHONDA SWENSON CRIMINAL DEFENSE MITIGTION INVEST PO BOX 881 CERES CA
09/25/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
09/29/2020                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
10/05/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
10/05/2020   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
10/08/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
10/08/2020   RONDA SWENSON POB 881 CERES CA
10/09/2020   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)                                                                               CAME BACK
10/12/2020                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA
10/28/2020                                                       JOHN BALAZS 916 2ND ST. #F SAC CA
10/29/2020   TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
10/29/2020   JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
10/29/2020   JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
10/30/2020   RONDA MITIGATION SPEC. POB 881 CERES CA
10/30/2020   JOHN BALAZS 916 2ND ST. #F SAC CA
10/30/2020                                                       JOHN BALAZS 916 2ND S.T #F SAC CA
11/02/2020                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
11/02/2020   RONDA SWENSON MA PO BOX 881 CERES CA (KC)
11/05/2020   TIM WARRINER 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
11/05/2020                                                       JOHN BALAZS 916 2ND ST. #F SAC CA
11/05/2020                                                       RHONDA SWENSON POB 881 CERES CA 95307
11/06/2020                                                       JOHN BALAZS 916 2ND ST. #F SAC CA
11/09/2020                                                       RHONDA SWENSON POB 881 CERES CA 95307
11/09/2020                                                       PRISON FOCUS 4408 MARKET ST. #A OAKLAND CA
11/09/2020                                                 TIM WARRINER 455 CAPITOL MALL #802 SAC CA
11/12/2020   JOHN BALAZS 916 2ND ST. #F SAC CA
11/12/2020   ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA


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        NAME:          DANIEL                                                                                               Printed 31-Aug-2023
        CDCR #:        J85968


DATE              RECEIVED FROM                                            SENT TO                                                                COMMENTS
11/12/2020   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
11/12/2020                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
11/13/2020                                                       RHONDA SWENSON POB 881 CERES CA
11/16/2020                                                       ATTY TIM WARRINER 455 CAPITOL MALL #802 SACTO, CA (PH)
11/16/2020                                                       ATTY ANNE CAPPELLA 201 REDWOOD SHORES REDWOOD SHORES, CA (PH)
11/17/2020                                                       PRISON LAW OFFICE SAN QUENTIN CA
11/18/2020                                                       OFFICE OF INPSECTOR GEN 10111 OLD PLACERVILLE RD. #110 SAC CA
11/20/2020                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
11/23/2020   RONDA SWENSON MITIGATION SPECIALIST P.O. BOX 881 CERES, CA (PH)
11/23/2020   ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES
11/23/2020                                                       RHONDA SWENSON MA SPEC. AND INVESTIGATOR
11/30/2020                                                       RHONDA SWENSON POB 881 CERES CA
12/02/2020   JOHN BALAZS 916 2ND ST. #F SAC CA
12/02/2020   JOHN BALAZS ATTY ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
12/04/2020                                                       MICHAEL BIEN 101 MISSION ST. 6TH FL. SAN FRAN CA
12/07/2020                                                         JOHN BALAZS 916 2ND ST. #F SAC CA
12/08/2020                                                         JOHN BALAZS 916 2ND ST. #F SAC CA
12/10/2020   ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA (PH)
12/10/2020                                                         OFFICE OF INTERNAL AFFAIRS POB 3009 SAC CA
12/11/2020                                                         JOHN BALAZS 916 2ND ST. #F SAC CA
12/14/2020   ATTY MICHAEL BIEN P.O. BOX 390 SAN FRANCISCO, CA (PH)
12/14/2020                                                         ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA
12/17/2020   MICHAEL BIEN POB 390 SAN FRAN CA
12/17/2020                                                         JOHN BALAZS 916 2ND ST. #F SAC CA
12/17/2020                                                         OFFICE OF APPEALS POB 942883 SAC CA
12/28/2020                                                         RHONDA SWENSON MA INVESTIGATOR POB 881 CERES CA 95307
12/28/2020                                                         JOHN BALAZS 916 2ND ST #F SAC CA
12/28/2020   ROSEN BIEN GALVAN & GRUNFELD LLP P BOX 390 SAN FRANCISCO CA (KC)
12/30/2020   OFFIE OF THE INSPECTOR GENERAL 10111 OLD PLACERVILLE RD STE 110 SAC CA (KC)
12/30/2020                                                         ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
01/04/2021                                                         ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
01/08/2021                                                         JOHN BALAZS 916 2ND ST. #F SAC CA
01/12/2021                                                         JOHN BALAZS 916 2ND ST. #F SAC CA
01/13/2021                                                         PRISON LAW OFFICE SAN QUENTIN CA
01/14/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
01/21/2021                                                         TIM WARRINER 455 CAPITAL MALL #802 SAC CA
01/22/2021                                                      JOHN BALAZS 916 2ND ST. #F SAC CA
01/26/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
01/28/2021                                                      ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)


                                                                                                                                Page 7 of 17
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        NAME:          DANIEL                                                                                                  Printed 31-Aug-2023
        CDCR #:        J85968


DATE              RECEIVED FROM                                             SENT TO                                                                  COMMENTS
01/29/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
01/29/2021                                                        JOHN BALAZS 916 2ND ST. #F SAC CA
02/01/2021                                                        JOHN BALAZS 916 2ND ST. #F SAC CA
02/03/2021                                                        OFFICE OF APPEALS POB 942883 SAC CA
02/04/2021                                                        JOHN BALAZS 916 2ND ST. #F SAC CA
02/05/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
02/08/2021                                                        JOHN BALAZS 916 2ND ST. #F SAC CA
02/10/2021   R. SWENSON MITIGATION SPECIALIST P.O. BOX 881 CERES, CA LEGAL DOCS (PH)
02/16/2021                                                        RHONDA SWENSON POB 881 CERES CA 95307
02/16/2021                                                        JOHN BALAZS 916 2ND S.T #F SAC CA
02/18/2021   PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA (KC)
02/19/2021                                                        OFFICE OF APPEALS POB 942883 SAC CA
02/19/2021                                                        JOHN BALAZS 916 2ND S.T #F SAC CA
02/22/2021                                                        OFFICE OF INSPECT GEN 10111 OLD PLACERVILLE RD #110 SAC CA
02/22/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
02/22/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
02/22/2021   PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA (KC)
02/26/2021                                                       ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA (PH)
03/01/2021                                                       ATTY JOHN BALAZS 916 2ND ST SUITE F SACTO, CA (PH)
03/01/2021                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
03/03/2021   JOHN BALAZS 916 2ND ST. SUITE F SAC, CA 95814
03/04/2021                                                       TIM WARRINER 455 CAPITOL MALL, SUITE 802 SAC, CA 95814
03/10/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
03/22/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
03/25/2021   CHIEF OFFICE OF APPEALS DEPT OF CORR AND REHAB PO BOX 942883 SACRAMENTO CA
03/25/2021   CHIEF OFFICE OF APPEALS DEPT OF CORR AND REHAB PO BOX 942883 SACRAMENTO CA
03/26/2021                                                       GENERAL O.I.G. 10111 OLD PLACERVILLE RD #110 SAC CA
03/29/2021                                                       RHONDA SWENSON MA INVESTIGATOR POB 881 CERES CA 95307
03/30/2021                                                       JOHN BALAZS 916 2ND ST. #F SAC CA
04/02/2021                                                       JOHN BALAZS 916 2ND ST #F SAC CA
04/05/2021                                                       TIM WARRINER 455 CAPITAL MALL #802 SAC CA
04/08/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
04/09/2021                                                       TIM WARRINER 455 CAPITAL MALL #802 SAC CA
04/09/2021                                                       RHONDA SWENSON POB 881 CERES CA 95307
04/12/2021                                                       ATTY JOHN BALAZS 916 2ND ST SUITE F SACTO, CA (PH)
04/12/2021                                                       INVESTIGATOR RHONDA SWENSON P.O. BOX 881 CERES, CA (PH)
04/12/2021   INSPECTOR GENERAL 10111 OLD PLACERVILLE RD SUITE 110 SACTO, CA (PH)
04/15/2021   CHIEF OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
04/15/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)


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        NAME:          DANIEL                                                                                              Printed 31-Aug-2023
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DATE              RECEIVED FROM                                           SENT TO                                                                 COMMENTS
04/15/2021                                                       JOHN BALAZS 916 2ND ST. #F SAC CA 95814
04/19/2021                                                       JOHN BALAZS916 2ND ST. #F SAC CA
04/19/2021                                                       RHONDA SWENSON POB 881 CERES CA 95307
04/20/2021                                                       JOHN BALAZS 916 2ND ST. #F SAC CA
04/21/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
04/21/2021                                                       JOHN BALAZS 916 2ND ST. #F SAC CA
04/22/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
04/27/2021                                                       JOHN BALAZS 916 2ND ST #F SAC CA 95814
04/27/2021                                                       JOHN BALAZS 916 2ND ST. #F SAC CA
04/29/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
04/29/2021                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
04/30/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
05/03/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
05/03/2021                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
05/03/2021                                                       INVESTIGATOR RHONDA SWENSON P.O. BOX 881 CERES, CA (PH)
05/04/2021   CHIEF OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
05/07/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
05/10/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
05/11/2021   CA PRISON FOCUS 4408 MARKET ST STE A OAKLAND CA (KC)
05/12/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
05/14/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)                                                                               CAME BACK
05/17/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
05/18/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)                                                                          RE-SENT FR
05/24/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
05/24/2021                                                       JOHN BALAZS ATY AT LAW 916 2ND ST STE F SACRAMENTO CA
05/26/2021                                                       JOHN BALAZS ATTY AT LAW 916 916 2ND ST STE F SACRAMENTO CA
05/27/2021   CHIEF OFFICE OF APPEALS PO BOX 94283 SACRAMENTO CA (KC)
05/27/2021                                                       OFFICE OF APPEALS PO BOX 94283 SACRAMENTO CA
05/27/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA
05/27/2021   OFFICE OF APPEALS POB 942883 SAC CA
05/28/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
06/01/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA
06/01/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
06/02/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA
06/04/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
06/10/2021                                                       OFFICE OF APPEALS DEPT OF CORR AND REHAB PO BOX 942883 SACRAMENTO CA
06/10/2021   JOHN BALAZS 916 2ND ST #F SAC CA
06/16/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA
06/17/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)


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        NAME:          DANIEL                                                                                               Printed 31-Aug-2023
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DATE              RECEIVED FROM                                            SENT TO                                                                COMMENTS
06/21/2021   PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA (KC)
06/21/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
06/22/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA
06/24/2021                                                       PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA (KC)
06/30/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
07/02/2021   ATTY JOHN BALAZS 916 2ND ST SUITE F SACTO, CA (PH)
07/12/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
07/15/2021                                                       TIM WARRINER 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
07/19/2021                                                       TIM WARRINER 455 CAPITAL MALL #802 SAC CA
07/20/2021                                                       RHONDA SWENSON INVESTIGATOR & MITIGATION PO BOX 881 CERES CA (KC)
07/20/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
07/26/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
07/26/2021                                                       RHONDA SWENSON INVESTIGATOR MITIGATION PO BOX 881 CERES CA (KC)
07/26/2021                                                       RHONDA SWENSON INVESTIGATOR MITIGATION PO BOX 881 CERES CA (KC)
07/30/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
07/30/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
08/02/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
08/05/2021                                                       SHAWNNA BALLARD KATE FALKEN 100 MARINE PARKWAY STE 300 REDWOODSHORES CA
08/06/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/09/2021   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)
08/09/2021                                                       RHONDA SWENSON INVESTIGATOR MA SPECIALIST PO BOX 881 CERES CA (KC)
08/09/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/10/2021                                                       TIM WARRIER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
08/12/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/16/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/23/2021   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)
08/25/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
09/07/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
09/20/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
09/22/2021                                                       OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
09/28/2021                                                       OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
09/28/2021   OFFICE OF APPEALS POB 942883 SAC CA
09/28/2021   OFFICE OF APPEALS POB 942883 SAC CA
09/30/2021                                                       OFFICE OF APPEALS DEPT OF CORR AND REHAB PO BOX 942883 SACRAMENTO CA (KC)
10/01/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
10/04/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
10/06/2021                                                       OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
10/08/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
10/13/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)


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        NAME:          DANIEL                                                                                             Printed 31-Aug-2023
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DATE              RECEIVED FROM                                             SENT TO                                                             COMMENTS
10/14/2021                                                       JONH BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
10/15/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
10/18/2021                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
10/19/2021                                                       OFFICE OF APPEALS P.O. BOX 942883 SACTO, CA (PH)
10/20/2021                                                       ATTY JOHN BALAZS 916 2ND ST SUITE F SACTO, CA (PH)
10/20/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
10/25/2021                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
10/27/2021   PRISON LAW OFFICE SAN QUENTIN, CA (PH)
10/28/2021                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
11/04/2021   JOHN BALAZ ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/05/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)                                                                             OPEN IN ER
11/08/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
11/09/2021                                                       OFFICE OF APPEALS DEPT OF CORR AND REHAB PO BOX 942883 SACRAMENTO CA (KC)
11/10/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/10/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/12/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/12/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
11/12/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/15/2021                                                       RHONDA SWENSON INVESTIGATOR AND MA SPECIALIST PO BOX 881 CERES CA (KC)
11/15/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/17/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/17/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/17/2021   OFFICE OF THE INSPECTOR GENERAL 10111 OLD PLACERVILLE RD STE 110 SAC CA (KC
11/18/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
11/19/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/19/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/24/2021   RONDA SWENSON MA MITIGAATION SPECIALIST PO BOX 881 CERES CA (KC)
11/24/2021   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/29/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
11/29/2021   JOHN BALAZS 916 2ND ST. #F SAC CA
12/01/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
12/01/2021                                                       RHONDA SWENSON POB 881 CERES CA 95307
12/02/2021   OFFICE OF APPEALS POB 942883 SAC CA
12/06/2021   CHIEF OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
12/06/2021                                                       ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA (PH)
12/07/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
12/07/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
12/08/2021                                                       OFFICE OF APPEALS P.O. BOX 942883 SACTO, CA (PH)
12/09/2021   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)


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        NAME:          DANIEL                                                                                                  Printed 31-Aug-2023
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DATE              RECEIVED FROM                                            SENT TO                                                                   COMMENTS
12/10/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
12/14/2021   CHIEF OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
12/15/2021                                                       OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
12/15/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
12/15/2021                                                       ATTY AT LAW TIM WARRINER 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
12/17/2021                                                       HONORABLE KIMBERLY J MUELLER 501 U ST STE 4-200 SACRAMENTO CA (KC)
12/17/2021                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
12/20/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
12/20/2021                                                       TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
12/21/2021   CHIEF OFFICE OF APPEA;LS PO BOX 942883 SACRAMENTO CA (KC)
12/21/2021                                                       HEALTH CARE CORRESPONACE PO BOX 588500 ELK GROVE CA (KC)
12/24/2021   RONDA SWENSON LEGAL DOCUMENTS POB 881 CERES CA 95307
12/29/2021   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
01/04/2022   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)
01/06/2022                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
01/13/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
01/14/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
01/18/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
01/18/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
01/18/2022                                                       RHONDA SWENSON INVESTIGATOR AND MA PO BOX 881 CERES CA (KC)
01/20/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND SR STE F SACRAMENTO CA (KC)
01/20/2022   OFFICE OF APPEALS POB 942883 SAC CA
01/21/2022                                                       ANNE CAPELLA WEIL GOTSCHAL MAGER LLLP 201 REDWOOD SHIRE PWKY REDWOODSHORE
01/27/2022                                                       RHONDA SWENSON INVESTIGTOR & MA SPECIALIST PO BOX 881 CERES CA (KC)
01/28/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
01/28/2022   JOHN BALAZS 916 2ND S.T #F SAC CA
02/03/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
02/04/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
02/07/2022   ANNE M CAPPELLA ATTY AT LAW 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA (K
02/09/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
02/11/2022                                                       OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
02/11/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
02/14/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
02/14/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
02/14/2022   TIM WARRINER 455 CAPITAL MALL #802 SAC CA
02/16/2022                                                       JOHN BALAZS ATTY AT AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
02/17/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
02/17/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
02/24/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)


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        NAME:          DANIEL                                                                                                   Printed 31-Aug-2023
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DATE              RECEIVED FROM                                            SENT TO                                                                    COMMENTS
02/24/2022   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)
02/25/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST F SACRAMENTO CA (KC)
02/28/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
03/02/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
03/02/2022   JOHN BALAZS ATTY AT LAW 916 2ND STSTE F SACRAMENTO CA (KC)
03/04/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
03/07/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
03/09/2022                                                       CA EASTERN DIST COURT HOUSE 501 I ST SACRAMENTO CA (KC)
03/10/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
03/10/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
03/10/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC )
03/11/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
03/14/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
03/15/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST SACRAMENTO CA (KC)
03/16/2022   ATTY JOHN BALAZS 916 2ND ST SUITE F SACTO, CA (PH)
03/18/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
03/21/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
03/21/2022   ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA (PH)
03/22/2022   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
03/22/2022   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)
03/24/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
03/24/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
03/28/2022   JOHN BALAZS ATTY AT LSW 9162ND ST STE F SACRAMENTO CA (KC)
03/30/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
04/11/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
04/11/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
04/21/2022   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)
04/27/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
05/02/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
05/04/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
05/04/2022                                                        JOHN BALAZS 916 2ND ST. #F SAC CA
05/05/2022                                                        JOHN BALAZS 916 2ND ST. #F SAC CA
05/05/2022   CHIEF OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
05/12/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
05/16/2022                                                        ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
05/17/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
05/25/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
05/27/2022   ATTY TIM WARRINER 455 CAPITOL MALL SUITE 802 SACTO, CA (PH)
06/02/2022                                                        TIM WARRINER ATTY AT LAW 455 CPITOL MALL STE 802 SACRAMENTO CA (KC)


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        NAME:         DANIEL                                                                                             Printed 31-Aug-2023
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DATE              RECEIVED FROM                                         SENT TO                                                                COMMENTS
06/03/2022                                                        TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
06/06/2022                                                        RHODA SWENSON MITIGATION INVESTIGTOR PO BOX 881 CERES CA (KC)
06/09/2022                                                        TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
06/13/2022                                                        TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
06/14/2022                                                        RHONDA SWENSON MITIGATION INVESTIGATOR PO BOX 881 CERES CA (KC)
06/21/2022   ANNE CAPPELLA REDWOOD SHORES REDWOOD SHORES CA
06/23/2022                                                        RHONDA SWENSON INVESTIGATOR & MITIG PO BOX 881 CERES CA (KC)
06/24/2022                                                        ATTY AT LAW ANNE CAPPELLA WEIL 201 REDWOOD SHORES PARKWAY REDWOODSHORES C
06/27/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
06/27/2022                                                        RHONDA SWENSON INVESTIGATION MITIGATION PO BOX 881 CERES CA (KC)
06/27/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
06/29/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
06/29/2022                                                        WARDEN'S OFFICE JEFFERY LYNCH CSP-SACRAMENTO (KC)
06/30/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
07/01/2022                                                        OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
07/05/2022   ANNE M CAPPELLA ATTY AT LAW 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA (K
07/05/2022                                                        OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
07/06/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
07/08/2022   KELLIE WALTERS STAFF ATTY 4400 MARKET ST OAKLAND CA (KC)
07/11/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
07/12/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
07/18/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
07/18/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
07/22/2022   CHIEF OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
07/22/2022                                                        OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
07/25/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/01/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/01/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/01/2022                                                        RHONDA S WENSON INVESTIGATOR & MITIGATION PO BOX 881 CERES CA (KC)
08/02/2022                                                        ANNE CAPPELLA ATTY AT LAW 201 REDWOODSHORES PWKY REDWOODSHORES CA (KC)
08/03/2022                                                        OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
08/08/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/08/2022   ATTY ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REWOOD SHORES , CA (PH)
08/08/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/08/2022                                                        JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/10/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/10/2022                                                    TIM WARRINER ATTY AT LAW 455 CAPITOL MALL STE 802 SACRAMENTO CA (KC)
08/11/2022                                                    JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/15/2022                                                    JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)


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        NAME:         DANIEL                                                                                              Printed 31-Aug-2023
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DATE              RECEIVED FROM                                           SENT TO                                                               COMMENTS
08/17/2022   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)
08/18/2022   CHIEF OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
08/19/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
08/22/2022                                                       PARALEGAL INVESTIGATOR RHODA S WENSON P OBOX 881 CERES CA (KC)
08/22/2022                                                       ANNE CAPPELLA ATTY AT LAW 201 REDWOODSHORES PWKY REDWOODSHIRES CA (KC)
08/22/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/26/2022                                                       ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/29/2022                                                       ATTY AT LAW 201 REDWOODSHORES PWKY REDWOODSHORES CA (KC)
08/29/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
08/29/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
09/12/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
09/12/2022   ATTY ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES, CA (PH)
09/15/2022   CHIEF INMATE APPEALS P.O. BOX 942883 SACTO, CA (PH)
09/16/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
09/19/2022                                                       RHONDA SWENSON INVESTIGTOR AND MITIGATION PO BOX 881 CERES CA (KC)
09/19/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
09/22/2022   ATTY ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES, CA (PH)
09/26/2022   ATTY JOHN BALAZS 916 2ND STREET SUITE F SACTO, CA (PH)
09/26/2022                                                       ATTY AT LAW 201 REDWOODSHORES PWKY REDWOODSHORES CA (KC)
09/26/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
09/30/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
09/30/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
09/30/2022   OFFICE OF APPEALS POB 942883 SAC CA
10/05/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
10/10/2022   CHIEF OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
10/11/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
10/11/2022   ANNE M CAPPELLA ATTY AT LAW 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA (K
10/13/2022   OFFICE OF APPEALS POB 942883 SAC CA
10/17/2022                                                       ATTY AT LAW ANNE CAPPELLA 201 REDWOODSHORES PKW REDWOODSHORES CA (KC)
10/18/2022   JOHN BALAZS 916 2ND ST. #F SAC CA
10/21/2022   PRISON LAW OFFICE SAN QUENTIN DONALD SPECTOR
10/24/2022   ATTY ANNE CAPPELLA 201 REDWOOD SHORES PARKWAY REDWOOD SHORES, CA (PH)
10/26/2022                                                       PRISON LAW OFFICE GENERAL DELIVERY SAN QUENTIN CA (KC)
10/27/2022                                                       JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
11/14/2022                                                       HEALTH CARE CORRESPONDANCE & APPEALS PO BOX 588500 ELK GROVE CA (KC)
11/17/2022   OFFICE OF APPEALS POB 942883 SAC CA
11/17/2022   OFFICE OF APPEALS POB 942883 SAC CA
12/05/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
12/19/2022                                                      HEALTH CARE & APPEALS BRANCH PO BOX 588500 ELK GROVE CA (KC)


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        NAME:          DANIEL                                                                                                   Printed 31-Aug-2023
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DATE              RECEIVED FROM                                            SENT TO                                                                    COMMENTS
12/27/2022   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
01/04/2023   RONDA SWENSON MA MITIG SPECIALIST PO BOX 881 CERES CA (KC)
01/06/2023   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
01/13/2023                                                      HEALTH CARE CORRESPONDANCE & APPEALS BRANCH PO BOX 588500 ELK GROVE CA (KC)
01/19/2023                                                      HEALTH CARE CORRESPONDANCE AND APPEALS BRANCH PO BOX 588500 ELK GROVE CA (K
01/19/2023   JON BALAZS 916 2ND ST. #F SAC CA
01/20/2023   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
01/25/2023   JOHN BALAZS 916 2ND ST. #F SAC CA
01/27/2023                                                      ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
01/30/2023                                                      ATTY AT LAW ANNE CAPELLA WEIL GOTSCHAL 201 REDWOODSHORES PWKY REDWOODSHO
02/07/2023   ANNE M CAPPELLA ATTY AT LAW 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA (K
02/09/2023                                                      ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
02/13/2023                                                      ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
02/13/2023                                                      RHONDA SWENSON INVESTIGATION MITIGATOR PO BOX 881 CERES CA (KC)
02/16/2023                                                      JOHN BALAZS 916 2ND #F SAC CA
02/17/2023   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
02/17/2023                                                       ANNE CAPELLA WEIL GOTCHAL & MANGES LLLP 201 REDWOODSHORES PWKY REDWOODSH
02/17/2023   JOHN BALAZS 916 2ND ST., STE. F SAC, CA 95814
02/21/2023                                                       ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
02/23/2023                                                       JOHN BALAZS 916 2ND ST. #F SAC CA
02/27/2023                                                       ATTY AT LAW 201 REDWOODSHORES PWKY REDWOODSHORES CA (KC)
02/27/2023                                                       OFFICE OF APPEALS DEPT OF CORR & REHAB PO BOX 942883 SACRAMENTO CA (KC)
02/27/2023                                                       ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
02/27/2023                                                       ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
02/27/2023                                                       UNITED STATES DIST 501 I ST STE 4-200 SACRAMENTO CA (KC)
02/28/2023   ANNE CAPELLA 201 REDWOOD SHORES CA (RTS)
03/01/2023   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
03/06/2023                                                       STEVEN GLICKMAN 152 33 VENTURA BLVD. #400
03/06/2023                                                       STEVEN GLICKMAN 152 33 VENTURA BLVD #400 SHERMAN OAKS, CA 91403
03/06/2023                                                       JOHN BALAZI 916 2ND ST. #F SAC CA 95814
03/06/2023   UNITED STATES COURTS 501 I ST STE 4-200 SACRAMENTO CA (KC)
03/08/2023   OFFICE OF THE CLERK 501 I ST. 4-200 SAC CA
03/10/2023                                                       OFFICE OF THE CLERK 501 I ST. STE 4-200 SACRAMENTO, CA 95814
03/13/2023   ANNE M CAPPELLA 201 REDWOOD SHORES CA
03/14/2023                                                       OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
03/15/2023   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
03/20/2023                                                        OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
03/20/2023                                                        ATTY AT LAW JOHN BALAZS 916 2ND ST STE F SACRAMENTO CA (KC)
03/30/2023   THE LAW OFFICE OF MICHELE GARFINKEL 22 MAIN ST #1550 IOE CA (KC)


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        NAME:          DANIEL                                                                                                Printed 31-Aug-2023
        CDCR #:        J85968


DATE              RECEIVED FROM                                            SENT TO                                                                 COMMENTS
03/30/2023                                                      US DIST. COURT 501 I ST. 4-200 SAC CA
04/03/2023   ANNE M CAPPELLA ATTY AT LAW 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA (K
04/05/2023   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
04/06/2023                                                      THE LEGAL OFFICE OF MICHELE GARFINKEL 22 MAIN ST #1550 IONE CA (KC)
04/19/2023   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
04/26/2023   JOHN BALAZS 916 2ND ST. STE F SACRAMENTO CA 95814
05/03/2023                                                      HEALTH CARE CORR AND APPEALS PO BOX 588500 ELK GROVE CA (KC)
05/08/2023   PRISON LAW OFFICE DONALD SPECTRO SAN QUENTIN CA
06/23/2023                                                      JOHN BALAZS 916 2nd st. ste f sacramento ca 95814
06/30/2023   JOHN BALAZS ATTY AT LAW 916 2ND ST STE F SACRAMENTO CA (KC)
07/03/2023                                                      JOHN BALAZ 916 2ND ST STE. F SACRAMENTO CA
07/03/2023                                                      KELLY MULCAHY PO BOX 1096 LOOMIS, CA 95650
07/14/2023   JOHN BALAZS 916 2ND ST. SACRAMENTO CA
07/31/2023   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
08/04/2023                                                      OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)
08/07/2023   ANNE M CAPPELLA ATTY AT LAW 201 REDWOOD SHORES PARKWAY REDWOOD SHORES CA (K
08/14/2023   CA CORR HEALTH CARE SERVICES PO BOX 588500 ELK GROVE CA (KC)
08/29/2023                                                     OFFICE OF APPEALS PO BOX 942883 SACRAMENTO CA (KC)




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                  Exhibit 3
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                              CERTIFICATE OF SERVICE
Case Name:      Daniel, Brant v. United States            No.    2:19-cr-00107-KJM
                of America

I hereby certify that on September 6, 2023, I electronically filed the following documents with
the Clerk of the Court by using the CM/ECF system:
Opposition to Motion Regarding Interference with Legal Mail
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on September
6, 2023, at Sacramento, California.


                R. Rondaris
                 Declarant                                           Signature

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